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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                               Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                               Case No. 17-12560 (JKS)
al.,1
                                                                     (Jointly Administered)
                                    Remaining Debtors.

MICHAEL GOLDBERG, as Liquidating Trustee of                          Adversary Proceeding
the Woodbridge Liquidation Trust, successor in
interest to the estates of WOODBRIDGE GROUP OF                       Case No. 19-51133 (JKS)
COMPANIES, LLC, et al.,
                                    Plaintiff,
                         vs.

PROVIDENT TRUST GROUP, LLC, CUSTODIAN
FOR THE BENEFIT OF GAIL MARIE BUSH IRA;
GAIL MARIE BUSH; GAIL MARIE BUSH AS
TRUSTEE OF THE GAIL MARIE BUSH TRUST
DATED 12/21/2001,

                                    Defendants.


              STIPULATION OF DISMISSAL OF ADVERSARY PROCEEDING


         Plaintiff Michael Goldberg, as Liquidating Trustee of the Woodbridge Liquidation Trust,

and defendants Gail Marie Bush and Gail Marie Bush as Trustee of the Gail Marie Bush Trust

Dated 12/21/2001 (together, the “Parties”), have entered into a settlement agreement that

resolves the claims asserted in the above-captioned adversary proceeding. Accordingly, the

Parties hereby stipulate, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

made applicable to this adversary proceeding by Rule7041 of the Federal Rules of Bankruptcy



1
 The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California 91423.


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of Bankruptcy Procedure, to the dismissal with prejudice of this adversary proceeding, with each

party to bear its own attorneys’ fees and costs.



  STIPULATED AND AGREED:

  Dated: February 14, 2023                                Dated: February 14, 2023

  PACHULSKI STANG ZIEHL & JONES LLP                       THE LAW OFFICE OF JAMES TOBIA,
                                                          LLC

  /s/ Colin R. Robinson                                   /s/ James Tobia
  Bradford J. Sandler (DE Bar No. 4142)                   James Tobia (DE Bar No. 3798)
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  Facsimile: (302) 652-4400                               Counsel to Defendants, Gail Marie Bush and
  Email: bsandler@pszjlaw.com                             Gail Marie Bush as Trustee of the Gail
          acaine@pszjlaw.com                              Marie Bush Trust Dated 12/21/2001
          crobinson@pszjlaw.com

  Counsel to Plaintiff




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